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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS


 AMERICA FIRST POLICY
 INSTITUTE, et al.,

           Plaintiffs,

      v.                                                 Case No. 2:24-cv-00152-Z

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States
 et al.,

           Defendants.



                      DEFENDANTS’ UNOPPOSED MOTION FOR
                     EXTENSION OF TIME TO FILE A REPLY BRIEF
       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Rule 7 of the Court’s

local rules, Defendants respectfully requests a 7-day extension of time, until October 11, 2024,

to file a reply in support of their motion to dismiss. Under the scheduling order that the Court

most recently entered, that reply is currently due on October 4, 2024. See Order, ECF No. 56.

This is Defendants’ first request for an extension of time for this purpose. Plaintiffs do not

oppose this request.

       This extension is necessary for several independent reasons. Since Plaintiffs sought an

extension for their response, ECF No. 55, counsel for Defendants have been occupied on

numerous other matters—including responding to a motion for a preliminary injunction

which was filed last week in another case challenging implementation of Executive Order

14019. See Ashcroft, et al. v. Biden, No. 4:24-cv-1062, ECF No. 48 (E.D. Mo., Sept. 25, 2024).

Like Plaintiffs here, plaintiffs in that case have requested that their motion be resolved on an

expedited schedule, and attending to that motion has been time-consuming. Additionally,

some members of Defendants’ trial team will be absent from the office at the end of this week


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for religious holidays, further cutting down on the time that counsel has available to complete

the reply brief in this matter. Counsel anticipates that, due to these competing obligations

and the need to confer with the various agencies named in this action, they will require an

additional seven days to complete the reply brief.

       This extension will not be prejudicial to Plaintiffs. Plaintiffs requested a similar

extension to submit their response brief, which this Court granted. See ECF No. 55. Further,

Plaintiffs’ motion for a preliminary injunction has now been fully briefed, and thus could be

resolved separate from Defendants’ motion to dismiss if the Court concluded that

circumstances so required.

       For these reasons, Defendant respectfully requests that the Court grant this extension

and allow Defendants to file a reply in support of their motion to dismiss on or before October

11, 2024.


Dated: September 30, 2024                  Respectfully submitted,

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                                           Assistant Branch Director

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